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 1   JAMES R. GREINER, ESQ.
 2   CALIFORNIA STATE BAR NUMBER 123357
     LAW OFFICES OF JAMES R. GREINER
 3
     1024 IRON POINT ROAD
 4   FOLSOM, CALIFORNIA 95630
     TELEPHONE: (916) 357-6701
 5
     FAX: (916) 920-7951
 6   E mail: jaygreiner@midtown.net
 7
     ATTORNEY FOR DEFENDANT
 8   TIEN THE LE
 9

10            IN THE UNITED STATES DISTRICT COURT FOR THE
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12                     EASTERN DISTRICT OF CALIFORNIA
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14
     UNITED STATES OF AMERICA, )            CR-S-08-449-03 WBS
15                             )
16
         PLAINTIFF,            )          STIPULATION AND AGREEMENT
                               )          OF THE PARTIES TO CONTINUE
17                v.           )          BOTH SENTENCING AND THE
18                             )          DEFENSE MOTIONS FOR A NEW
     TIEN THE LE, et al.,      )          TRIAL AND JUDGMENT OF
19
                               )          ACQUITAL TO MONDAY,
20                             )          NOVEMBER 24, 2014 AND
                  DEFENDANTS. )           PROPOSED ORDER
21
     __________________________)
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         The parties to this litigation, the United States
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     of America, represented by Assistant United States
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     Attorneys Jason Hitt and Jill Thomas, and the
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 1
     defendant, Tien The Le, James R. Greiner, hereby agree
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     and stipulate to the following:
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                    1- By previous order, this matter was set
 4
     for motions hearing and sentencing on Monday, November
 5
     3, 2014 (See Docket Entry # 282);
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                    2. The defense has filed two post trial
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     motions, the first is a motion to vacate the jury
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     verdict and for a judgment of acquittal (See Docket
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     Entry # 215) and the second is a motion for a new trial

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     (See Docket entry # 216). Both motions are critical and

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     contain potentially complex issues which the parties

13   agree require the additional time for legal research
14   and briefing. The government has responded to both
15   motions on June 10, 2014. (See Docket # 274)
16                  3. The defense filed a sentencing
17   memorandum on August 12, 2013 (See Docket # 246), a
18   supplemental sentencing memorandum on August 7, 2014
19   (See Docket #277) and a second supplemental sentencing
20   memorandum on September 30, 2014 (See Docket # 280).
21                  4. By this Stipulation, the parties
22   collectively now move to continue the motion hearing
23   and sentencing until Monday, November 24, 2014 at 9:30
24   a.m. The parties agree there is no legal need to
25   exclude time pursuant to the Speedy Trial Act.
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 1       IT IS SO AGREED TO AND STIPULATED TO BY THE
 2
     PARTIES.
 3

 4                  Each attorney has granted James R. Greiner
 5
     full authority to sign for each individual attorney.
 6

 7
         Respectfully submitted:

 8                        BENJAMIN B. WAGNER
 9                        UNITED STATES ATTORNEY
10
     DATED: 10-28-14      /s/ JASON HITT
11                            JILL THOMAS
                          _____________________________________
12
                          JASON HITT
13                        JILL THOMAS
14
                          ASSISTANT UNITED STATES ATTORNEYS
                          ATTORNEYS FOR THE PLAINTIFF
15

16   DATED: 10-28-14      /s/ James R. Greiner
17
                          _______________________________
18                        James R. Greiner
                          Attorney for Defendant
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                          TIEN THE LE
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 1                                   ORDER
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 4                  IT IS SO FOUND AND ORDERED.
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     Dated:   October 28, 2014
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